8:12-cr-00083-BCB-MDN            Doc # 76     Filed: 09/18/12      Page 1 of 2 - Page ID # 307




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )               CASE NO. 8:12CR83
                                                 )
               Plaintiff,                        )
                                                 )
               vs.                               )
                                                 )              TENTATIVE FINDINGS
JORGE MONTEJANO,                                 )
                                                 )
               Defendant.                        )


       The Court has received the Revised Presentence Investigation Report (“PSR”) in

this case. The government adopted the PSR. (Filing No. 72.) The Defendant filed

objections to the PSR (Filing No. 67).1 See Order on Sentencing Schedule, ¶ 6. The Court

advises the parties that these Tentative Findings are issued with the understanding that,

pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the sentencing

guidelines are advisory.

       The Defendant’s objections to the PSR are denied for lack of compliance with ¶ 4

of the Order on Sentencing Schedule and because they do not affect the sentencing

guideline calculation.

       IT IS ORDERED:

       1.      The parties are notified that my tentative findings are that the PSR is correct

in all respects;

       2.      The Defendant’s objections to the PSR (Filing No. 67) are denied;

       3.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion



       1
       The objections were not raised initially to the Probation Officer as required in ¶ 4 of the
Order on Sentencing Schedule.
8:12-cr-00083-BCB-MDN         Doc # 76     Filed: 09/18/12    Page 2 of 2 - Page ID # 308




challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 18th day of September, 2012.

                                          BY THE COURT:

                                          S/ Laurie Smith Camp
                                          Chief United States District Judge




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